Case 3:10-cr-03313-JAH        Document 26         Filed 03/21/11      PageID.98       Page 1 of 3



 1

 2

 3

 4

 5

 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                SOUTHERN DISTRICT OF CALIFORNIA

10     UNITED STATES OF AMERICA,                        )   Case No. 10cr3313-JAH
                                                        )
11                             Plaintiff,               )   PRELIMINARY ORDER
                                                        )   OF CRIMINAL FORFEITURE
12                     v.                               )
                                                        )
13     GENESIS GODINEZ (2),                             )
                                                        )
14                             Defendant.               )
                                                        )
15

16             WHEREAS, in the Indictment in the above-captioned case, the United States sought

17     forfeiture of all right, title and interest in specific property of the above-named Defendant pursuant

18     to Title 31, United States Code, Sections 5317 and 5332, as property involved in or traceable to

19     the violation of Title 31, United States Code, Sections 5332(a), as charged in the Indictment; and

20             WHEREAS, on or about March 3, 2011, the above-named Defendant, GENESIS

21     GODINEZ ("Defendant"), pled guilty to count one of the two-count Indictment before

22     District Court Judge John A. Houston, which plea included consent to the criminal forfeiture

23     allegation pursuant to Title 31 as set forth in the Indictment; and

24             WHEREAS, by virtue of the facts set forth in the plea agreement, the United States has

25     established the requisite nexus between the forfeited property and the offense; and

26             WHEREAS, by virtue of said guilty plea, the United States is now entitled to possession

27     of said property, pursuant to 31 U.S.C. §§ 5317 and 5332, and Rule 32.2(b) of the Federal Rules

28     of Criminal Procedure; and
Case 3:10-cr-03313-JAH         Document 26         Filed 03/21/11        PageID.99        Page 2 of 3



 1             WHEREAS, pursuant to Rule 32.2(b), the United States having requested the authority to

 2     take custody of the following property which was found forfeitable by the Court, namely:

 3                     $30,853.00 in U.S. Currency; and

 4             WHEREAS, the United States, having submitted the Order herein to the Defendant through

 5     her attorney of record, to review, and no objections having been received;

 6             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

 7             1.      Based upon the guilty plea of the Defendant, the United States is hereby authorized

 8     to take custody and control of the following asset, and all right, title and interest of Defendant

 9     GENESIS GODINEZ in the following property are hereby forfeited to the United States for

10     disposition in accordance with the law, subject to the provisions of 21 U.S.C. § 853(n):

11                     $30,853.00 in U.S. Currency..

12             2.      The aforementioned forfeited asset is to be held by the United States Customs and

13     Border Protection (“CBP”) in its secure custody and control.

14             3.      Pursuant to Rule 32.2(b) and (c), the United States is hereby authorized to begin

15     proceedings consistent with any statutory requirements pertaining to ancillary hearings and rights

16     of third parties.

17             4.      Pursuant to the Attorney General’s authority under Section 853(n)(1) of Title 21,

18     United States Code, Rule 32.2(b)(3), Fed. R. Crim. P., and Rule G(4) of the Supplemental Rules

19     for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United States forthwith shall

20     publish for thirty (30) consecutive days on the Government’s forfeiture website,

21     www.forfeiture.gov, notice of this Order, notice of the CBP's intent to dispose of the property in

22     such manner as the Attorney General may direct, and notice that any person, other than the

23     Defendant, having or claiming a legal interest in the above-listed forfeited property must file a

24     petition with the Court within thirty (30) days of the final publication of notice or of receipt of

25     actual notice, whichever is earlier.

26             5.      This notice shall state that the petition shall be for a hearing to adjudicate the

27     validity of the petitioner's alleged interest in the property, shall be signed by the petitioner under

28     penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest

                                                           2                                  10cr3313
Case 3:10-cr-03313-JAH       Document 26        Filed 03/21/11      PageID.100       Page 3 of 3



 1     in the forfeited property and any additional facts supporting the petitioner's claim and the relief

 2     sought.

 3               6.   The United States may also, to the extent practicable, provide direct written notice

 4     to any person known to have alleged an interest in the property that are the subject of the

 5     Preliminary Order of Criminal Forfeiture.

 6               7.   Upon adjudication of all third-party interests, this Court will enter an

 7     Amended Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be

 8     addressed.

 9               DATED: March 21, 2011

10
                                                     JOHN A. HOUSTON, Judge
11                                                   United States District Court

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                       3                                10cr3313
